
Lenroot, Judge,
delivered the opinion of the court:
This is an appeal in a trade-mark opposition proceeding. The Commissioner of Patents held that appellant was estopped to oppose *798the registration sought by appellee, and reversed the decision of the-examiner of trade-mark interferences, which sustained the- notice of' opposition and adjudged that appellee was not entitled to the registration sought by its application. From this decision of the commissioner appellant takes this appeal.
The issues involved herein are substantially the same as those-involved in the case between the same parties, Patent Appeal No. 2522, decided this day, 18 C. C. P. A. (Patents) 792, and by stipulation of the parties the record in said last-named case became the-record in the case at bar.
For the reasons given in our decision in said Patent Appeal No.. 2522, the decision of the Commissioner of Patents is reversed.
